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decisions. Further, because for most of its funds an Abraaj general
partner was entitled to collect management fees and a percentage
of investment profits, or carry, raising additional capital and
inflating the performance of its existing funds enabled the Abraaj
[Fund managers] to collect more management fees and carry than
Abraaj} [Fund managers} otherwise would have been entitled to
receive.

d. Certain defendants also concealed Abraaj's
true financial condition from investors and potential investors by
distributing false and misleading periodic reports, marketing
materials, and financial statements, and by providing materially
false and misleading responses to investor inquiries about
Abraaj’s business condition and practices.

e. At least one defendant directed another member
of the Enterprise to bribe Pakistani elected officials for the
benefit of the Enterprise, and thereafter concealed that fact from
investors and potential investors.

113. ARTF NAQVI, WAQAR STIPDIQUE, RAFIQUE LAKHANI, MUSTAFA
ABDEI:-WADOOD, ASHISH DAVE, and SIVENDRAN VETTIVEPPILLAT, the
defendants, personally profited as a result of the Enterprise’s
criminal conduct. Victims of the racketeering conspiracy included
{a) individuais and institutions that invested in or otherwise
committed capital to Abraaj private equity funds; (b) financial

institutions and government agencies that lent funds to various

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Abraaj~branded entities; and (c) regulatory authorities deceived by

 

members of the Abraaj Enterprise.
(Title 18, United States Code, Section 1962(d).)

COUNT TWO

(Securities Fraud Conspiracy)

114. The allegations set forth in paragraphs 1] through
106 and 169 through 113 are repeated and realleged, and
incorporated by reference as if fully set forth herein.

115. From at least in or about 2014 up to and including
in or about April 2018, in the Southern District of New York and
elsewhere, ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUK LAKHANI, MUSTAFA
ABDEL-WADOOD, ASHISH DAVE, and SIVENDRAN VETTIVETPILLAL, the
defendants, and others known and unknown, willfully and knowingly
combined, conspired, confederated, and agreed together and with
each other to commit an offense against the United States, to wit,
securities fraud, in violation of Title 15, United States Code,
Sections 78)(b) and 78ff, and TFitle 17, Code of Federal
Regulations, Section 240.10b-5.

116. It was a part and an object of the conspiracy that
ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANI, MUSTAFA ABDEL-WADOOD,
ASHISH DAVE, and SIVENDRAN VETTIVETPILLAI, the defendants, and
others known and unknown, willfully and knowingly, directly and
indirectly, by use of the means and instrumentalities of interstate

commerce, and of the mails, would and did use and employ, in

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connection with the purchase and sale of securities, manipulative
and deceptive devices and contrivances in violation of Title 17,
Code of Federal Regulations, Section 240.10b-5 by: (a) employing
devices, schemes, and artifices to defraud; (b) making untrue
statements of material fact and omitting to state material facts
necessary in order to make the statements made, in the light of
the circumstances under which they were made, not misleading; and
(c) engaging in acts, practices and courses of business which
operated and would operate as a fraud and deceit upon persons, in
violation of Title 15, United States Code, Sections 784 (b) and
7T8LL.
Overt Acts

117. In furtherance of the conspiracy and to effect the
iliegal object thereof, the following overt acts, among others,
were committed in the Southern District of New York and elsewhere:

a. In or about July 2014, ARIF WNAQVI and
STVENDRAN VETTIVETPILLAIL, the defendants, attended a meeting with
employees of the U.S. Investment Advisor in Pennsylvania and, while
there, conveyed false and misleading information about Abraaj.

b. In or about June 2016, RAFIQUE LAKHANT, the
defendant, concealed approximately $318 million in transfers out
of APEF IV by using false entries in a set of accounting records.

Cc. In or about November 2016, MUSTAFA ABDEL-

WADOOD, the defendant, rejected a proposal by an investment team

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to mark down a position held by an Abraaj fund in a particular
traded company by over $40 million.

d. On or about December 14, 2016, NAQVI made a
presentation to investors in various Abraaj funds at an investor
forum held in Manhattan, New York, and, in his remarks, presented
false and misleading information about the financial condition of
Abraaj and the performance of particular Abraaj funds.

e. On or about June 20, 2017, LAKHANTI contacted
a representative of the Airline to obtain a multimillion dollar
loan to Abraaj to conceal a cash shortfall on a financial statement
due at month end.

£. On or about August 1, 2017, WAQAR SIDDIQUE,
the defendant, sent an email to NAQVI providing an update on the
progress of the scheme to overvalue the securities held by Abraaj
funds and thereby misrepresent Abraaj’s track record.

q. In or about August 2017, ASHISH DAVE, the
defendant, wrote an email to ABDEL-WADOOD about, in sum and
substance, conveying to ABDEL-WADOOD’s subordinates that Abraaj
could not mark down positions held by Abraaj investment funds.

h. On or about August 3, 2017, CC-2 informed
ABDEL“WADOOD that CC-2 and NAQVI had met and agreed to certain
false valuations for particular Abraaj investments.

L. On or about August 29, 2017, LAKHANI directed

an Abraaj employee by email to wire approximately USD$500,000 from

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a company account to the Naqvi Personal Entity and, in a subsequent
email, directed an Abraaj} employee to wire approximately
USDS500,000 from the Naqvi Personal Entity to an account for an
entity controlled by Naqvi and his family.

3. On or about December 5, 2017, NAQVI attended
a series of meetings in New York, New York to solicit new and
additional investor commitments in APEF VI.

k. In or about January 2018, VETTIVETPILLAL
advocated in an email to others at Abraaj, including NAQVI that
Abraa) should delay marking down positions held by Abraaj
investment funds until Abraaj had completed its fundraising for
APEHF VI.

i. In or about 2017, CC-2 made false
representations during an in-person meeting with a United States-—
based institutional investor about Abraaj’s investment track
record, in order to induce an investment in Abraaj.

(Title 18, United States Code, Section 371.)

COUNT THREE
(Securities Fraud -— APEF IV)

The Grand Jury further charges:

118. The allegations set forth in paragraphs 1 through
106, paragraphs 109 through 113, and paragraph 117 are repeated
and realleged, and incorporated by reference as if fully set forth

herein.

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119. From at least in or about 2014, up to and including in or
about May 2018, in the Southern District of New York and elsewhere,
ARIF NAQVI, WAQAR SIDDEIQUE, RAFIQGUE LAKHANT, MUSTAFA ABDEL-WADOOD,
ASHISH DAVE, and SIVENDRAN VETTIVETPILLAIL, the defendants,
willfully and knowingly, directly and indirectly, by use of the
means and instrumentalities of interstate commerce, and of the
mails, used and employed, in connection with the purchase and sale
of securities, manipulative and deceptive devices and contrivances
in violation of Title 17, Code of Federal Regulations, Section
240.10b-5 by: (a) employing devices, schemes, and artifices to
defraud; (b) making untrue statements of material fact and omitting
to state material facts necessary in order to make the statements
made, in the light of the circumstances under which they were made,
not misleading; and ({(c) engaging in acts, practices, and courses
of business which operated and would operate as a fraud and deceit
upon persons, to wit, NAOVI, SIDDIQUE, LAKHANI, ABDEL-WADOOD,
DAVE, and VETTIVETPILLAT, deceived investors and potential
investors in APEF IV by making, and causing others to make,
material misstatements and omissions concerning the financial
condition of Abraaj generally, the financial condition and
historical performance of APEF IV specifically, and the
misappropriation of investor funds; and did, in fact,

misappropriate investor funds from APHF IV for improper purposes.

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(Title 15, United States Code, Sections 78) (b) & 78ff; Title 17,
Code of Federal Regulations, Section 240.10b-5; and Title 18,
United States Code, Section 2.)

COUNT FOUR

{Securities Fraud - the Healthcare Fund)

The Grand Jury further charges:

120. The allegations set forth in paragraphs 1 through
106, paragraphs 109 through 113, and paragraph li? are repeated
and realleged, and incorporated by reference as if fully set forth
herein.

121. From at least in or about 2014, up to and including
in or about May 2018, in the Southern District of New York and
elsewhere, ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANI, and
SIVENDRAN VETTIVETPILLAI, the defendants, willfully and knowingly,
directly and indirectly, by use of the means and instrumentalities
of interstate commerce, and of the mails, used and employed, in
connection with the purchase and sale of securities, manipulative
and deceptive devices and contrivances in violation of Title 17,
Code of Federal Regulations, Section 240.10b-5 by: (a) employing
devices, schemes, and artifices to defraud; {b) making untrue
statements of material fact and omitting to state material facts
necessary in order to make the statements made, in the light of
the circumstances under which they were made, not misleading; and
(c) engaging in acts, practices, and courses of business which

operated and would operate as a fraud and deceit upon persons, to

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wit, NAQVI, SIDDIQUE, LAKHANI, and VETTIVETPILLAI deceived
investors and potential investors in the Healthcare Fund by making,
and causing others to make, material misstatements and omissions
concerning the financial condition of Abraaj generally, and the
financial condition and performance of the Healthcare Fund
specifically, and the misappropriation of investor monies; and
did, in fact, misappropriate investor funds from the Healthcare
Fund for improper purposes.

(Title 15, United States Code, Sections 78j(b) & 78ff; Title 17,

Code of Federal Regulations, Section 240.10b-5; and Title 18,
United States Code, Section 2.)

COUNT FIVE
(Securities Fraud -— APEF VI)

The Grand Jury further charges:

122, The allegations set forth in paragraphs 1 through
106, paragraphs 109 through 113, and paragraph 117 are repeated
and realleged, and incorporated by reference as if fully set forth
herein.

123. From at least in or about 2014, up to and including
in or about May 2018, in the Southern District of New York and
elsewhere, ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANI, MUSTAFA
ABDEL-WADOOD, ASHISH DAVE, and SITVENDRAN VETTIVETPILLAI, the
defendants, willfully and knowingly, directly and indirectly, by
use of the means and instrumentalities of interstate commerce, and

of the mails, used and employed, in connection with the purchase

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and sale of securities, manipulative and deceptive devices and
contrivances in violation of Title 17, Code of Federal Regulations,
Section 240.10b-5 by: fa) employing devices, schemes, and
artifices to defraud; (b) making untrue statements of material
fact and omitting to state material facts necessary in order to
make the statements made, in the light of the circumstances under
which they were made, not misleading; and (c} engaging in acts,
practices, and courses of business which operated and would operate
as a fraud and deceit upon persons, to wit, NAOQVI, SIDDIQUE,
LAKHANI, ABDEL-WADOOD, DAVE, and VETTIVETPILLAL deceived investors
and potential investors in connection with the sale of APEF VI
partnership interests by making, and causing others to make,
Material misstatements and omissions concerning the financial
condition of Abraaj} generally, and the historical performance of
other Abraaj investment funds, and the misappropriation of
investor funds from other Abraaj investment funds.

(Title 15, United States Code, Sections 78) (b) & 78ff; Title 17,

Code of Federal Regulations, Section 240.10b-5; and Title 18,
United States Code, Section 2.}

COUNT SIX

(Wire Fraud Conspiracy)
The Grand Jury further charges:
124. The allegations set forth in paragraphs 1 through

paragraphs 1 through 106, paragraphs 109 through 113, and paragraph

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117, are repeated and realleged, and incorporated by reference as
if fully set forth herein.

125, From at least in or about April 2014, up to and
including in or about May 2018, in the Southern District of New
York and elsewhere, ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANI,
MUSTAFA ABDEL-WADOOD, ASHISH DAVE, and SIVENDRAN VETTIVETPILIAT,
the defendants, and others known and unknown, willfully and
knowingly combined, conspired, confederated and agreed together
and with each other to commit wire fraud, in violation of Title
18, United States Code, Section 1343.

126. It was a part and an object of the conspiracy that
ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANT, MUSTAFA ABDEL-WADOOD,
ASHISH DAVE, and SIVENDRAN VETTIVETPILLAIL, the defendants, and
others known and unknown, willfully and knowingly, having devised
and intending to devise a scheme and artifice to defraud, and for
obtaining money and property by means of false and fraudulent
pretenses, representations, and promises, would and did transmit
and cause to be transmitted by means of wire, radio, and television
communication in interstate and foreign commerce, writings, Signs,
signals, pictures, and sounds for the purpose of executing such
scheme and artifice, which affected a financial institution, in
violation of Title 18, United States Code, Section 1343.

{Title 18, United States Code, Section 1349.)

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COUNT SEVEN
(Wire Fraud — APEF IV)

The Grand Jury further charges:

127. The allegations set forth in paragraphs 1 through 106,
paragraphs 109 through 113, and paragraph 117, are repeated and
realleged, and incorporated by reference as if fully set forth
herein.

128. From at least in or about April 2014, up to and including
in or about May 2018, in the Southern District of New York and
elsewhere, ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANI, MUSTAPA
ABDRL-WADOOD, ASHISH DAVE, and SIVENDRAN VETTIVETPILLAI, the
defendants, willfully and knowingly, having devised and intending
to devise a scheme and artifice to defraud, and for obtaining money
and property by means of false and fraudulent pretenses,
representations, and promises, transmitted and caused to be
transmitted by means of wire, radio, and television communication
in interstate and foreign commerce, writings, signs, signals,
pictures, and sounds for the purpose of executing such scheme and
artifice, to wit, NAQVI, SIDDIQUE, LAKHANI, ABDEL-WADOOD, DAVE,
and VETTIVETPILLAI, made and caused others to make materially false
and misleading statements and omissions to investors and potential
investors in APEF IV, including by telephone and email, concerning
the financial condition of Abraaj generally, the financial

condition and performance of APEF IV specifically, and _ the

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misappropriation of investor funds, and did, in fact,
misappropriate investor funds from APEF IV for improper purposes.
(Title 18, United States Code, Sections 1343 and 2.)

COUNT EIGHT
(Wire Fraud ~ the Healthcare Fund)

The Grand Jury further charges:

129. The allegations set forth in paragraphs 1 through 106,
paragraphs 109 through 113, and paragraph 117, are repeated and
realleged, and incorporated by reference as if fully set forth
herein.

130. From at least in or about 2015, up to and including in
or about December 2017, in the Southern District of New York and
elsewhere, ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANI, and
SIVENDRAN VETTIVETPILLAI, the defendants, willfully and knowingly,
having devised and intending to devise a scheme and artifice to
defraud, and for obtaining money and property by means of false
and fraudulent pretenses, representations, and promises,
transmitted and caused to be transmitted by means of wire, radio,
and television communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, which affected a financial
institution, to wit, NAQVI, SIDDIQUE, LAKHANI, and VETTIVETPILLAL
made and caused others to make materially false and misleading

statements and omissions to investors and potential investors in

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the Healthcare Fund, including by telephone and email, concerning
the financial condition of Abraaj generally, the financial
condition and performance of the Healthcare Fund specificaily, and
the misappropriation of investor funds, and did, in fact,
misappropriate investor funds from the Healthcare Fund for
improper purposes.

{Title 18, United States Code, Sections 1343 and 2.)

COUNT NINE
(Wire Fraud ~ APEF VI)

The Grand Jury further charges:

131. The allegations set forth in paragraphs in paragraphs 1
through 106, paragraphs 109 through 113, and paragraph 117, are
repeated and realleged, and incorporated by reference as if fully
set forth herein.

132. From at least in or about 2017, up to and including in
or about May 2018, in the Southern District of New York and
elsewhere, ARIF NAOQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANT, MUSTAFA
ABDEL-WADOOD, ASHISH DAVE, and SIVENDRAN VETTIVETPILLAI, the
defendants, willfully and knowingly, having devised and intending
to devise a scheme and artifice to defraud, and for obtaining money
and property by means of false and fraudulent pretenses,
representations, and promises, transmitted and caused to be
transmitted by means of wire, radio, and television communication

in interstate and foreign commerce, writings, signs, signais,

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pictures, and sounds for the purpose of executing such scheme and
artifice, which affected a financial institution, to wit, NAOVI,
SIDDIQUE, LAKHANI, ABDEL-WADOOD, DAVE, and VETTIVETPILLAIT made and
caused others to make materially false and misleading statements
and omissions to investors and potential investors in APEF VI,
including by telephone and email, concerning the financial
condition of Abraaj generally, the financial condition and
historical performance of other Abraaj investment funds, and the
misappropriation of investor funds from those other Abraaj
investment funds.
(Title 18, United States Code, Sections 1343 and 2.)

COUNT TEN

(Concealment Money Laundering Conspiracy)

The Grand Jury further charges:

133. The allegations set forth in paragraphs 1 through 106,
paragraphs 109 through 113, and paragraph 117, are repeated and
realleged, and incorporated by reference as if fully set forth
herein.

134. The Abraaj Leadership repeatedly transferred funds from
bank accounts associated with particular investment funds-—
including APEF IV, IGCF, and the Healthcare Fund-into accounts
held in the name of AIML. From AIML accounts, members of the Abraaj
Leadership then transferred, or caused others to transfer, the

misappropriated investor monies into bank accounts associated with

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other investment funds, including through transactions that took
place through United States correspondent bank accounts located in
New York, New York, into bank accounts associated with Abraaj
Holdings, or into bank accounts associated with members of the
Enterprise themselves. By transferring monies first to AIML and
then further transferring those monies from AIML on to other
accounts for improper purposes, the Abraaj Leadership intended to,
and did, conceal that they were using misappropriated investor
monies from Abraaj-branded funds to cover cash shortfalls, to fund
investments, and to enrich themselves.

Statutory Allegations

 

135. From at least in or about April 2014, up to and including
in or about May 2018, in the Southern District of New York and
elsewhere, ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANI, and ASHISH
DAVE, the defendants, and others known and unknown, knowingly
combined, conspired, confederated, and agreed together and with
each other to violate Title 18, United States Code, Section 1956.

136. It was a part and an object of the conspiracy that ARIF
NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANT, and ASHISH DAVE, the
defendants, and others known and unknown, knowing that the property
involved in certain financial transactions, to wit, cash
rransactions and wire transfers out of AIML accounts, represented
the proceeds of some form of unlawful activity, would and did

conduct and attempt to conduct such financial transactions, which

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in fact involved the proceeds of specified unlawful activity as
defined in 18 U.S.C. § 1956{c) (7), to wit, fraud in the sale of
securities, wire fraud, theft of public funds, and theft from an
employee benefit plan, knowing that the transactions were designed
in whole and in part to conceal and disguise the nature, the
location, the source, the ownership, and the control of the
proceeds of specified unlawful activity, in violation of Title 18,
United States Code, Section 1956(a} (1) (B) (i).
(Title 18, United States Code, Section 1956(h).)

COUNT ELEVEN

(Concealment Money Laundering)

The Grand Jury further charges:

137. The allegations set forth in paragraphs 1 through 106,
paragraphs 109 through 113, and paragraph 117, are repeated and
realleged, and incorporated by reference as if fully set forth
herein.

138. From at least in or about April 2014, up to and including
in or about May 2018, in the Southern District of New York and
elsewhere, ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANT, and ASHISH
DAVE, the defendants, knowing that the property involved in certain
financial transactions, to wit, cash transactions and wire
transfers out of AIML accounts, represented the proceeds of some
form of unlawful activity, conducted and attempted to conduct such

financial transactions, which in fact involved the proceeds of

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specified unlawful activity as defined in 18 U.S.C. § 1956{c} (7),
to wit, fraud in the sale of securities, wire fraud, theft of
public funds, and theft from an employee benefit plan, knowing
that the transactions were designed in whole and in part to conceal
and disguise the nature, the location, the source, the ownership,
and the control of the proceeds of specified unlawful activity.

(Title 18, United States Code, Sections 1956(a) (1) (B) (i) and 2.}

COUNT TWELVE

(International Promotional Money Laundering Conspiracy)

The Grand Jury further charges:

139. The allegations set forth in paragraphs 1 through 106,
paragraphs 109 through 113, and paragraph 117, are repeated and
realleged, and incorporated by reference as if fully set forth
herein.

140. The Abraaj Leadership repeatedly transferred, or caused
the transfer of, monies into and out of bank accounts in the United
States to and from accounts located overseas to promote the Abraaj
Leadership’s unlawful activities and to sustain the Enterprise.
For example, and as further described above in Paragraphs 38
through 41, members of the Enterprise caused investors in the
Healthcare Fund to transfer millions of dollars from United States
accounts to Abraaj-controlled accounts overseas by issuing
drawdown notices to those investors. As set forth in Paragraphs 38

through 41, the Abraaj Leadership issued, or caused others to

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issue, those drawdown notices in part to obtain investor monies
that the Abraaj Leadership could then misappropriate to, among
other things, cover cash shortfalls, satisfy operational expenses,
and make payroll at Abraaj’s Manhattan, New York office.

Statutory Allegations

 

141. From at least in or about April 2014, up to and including
in or about May 2018, in the Southern District of New York and
elsewhere, ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANI, and ASHISH
DAVE, the defendants, and others known and unknown, knowingly
combined, conspired, confederated, and agreed together and with
each other to violate Title 18, United States Code, Section 1956.

142. It was a part and an object of the conspiracy that ARIF
NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANI, and ASHISH DAVE, the
defendants, and others known and unknown, with the intent to
promote the carrying on of specified unlawful activity as defined
in 18 U.S.C. § 1956(c) (7), to wit, fraud in the sale of securities,
wire fraud, theft of public funds, and theft from an employee
benefit plan, would and did transport, transmit, and transfer, and
attempt to transport, transmit, and transfer a monetary instrument
and funds from a place in the United States to and through a place
outside the United States and to a place in the United States from
and through a place outside the United States, in violation of
Title 18, United States Code, Section 1956 (a) (2) (A).

(Title 18, United States Code, Section 1956(h).)})

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COUNT THIRTEEN

(International Promotional Money Laundering)

The Grand Jury further charges:

143. The allegations set forth in paragraphs 1 through 106,
paragraphs 109 through 113, and paragraphs 117, 134, and 140 are
repeated and realleged, and incorporated by reference as if fully
set forth herein.

144. From at least in or about April 2014, up to and including
in or about May 2018, in the Southern District of New York and
elsewhere, ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANI, and ASHISH
DAVE, the defendants, with the intent to promote the carrying on
of a specified unlawful activity as defined in 18 U.S.C.
§ 1956{c) (7), to wit, fraud in the sale of securities, wire fraud,
theft of public funds, and theft from an employee benefit plan,
transported, transmitted, and transferred, and attempted to
transport, transmit, and transfer a monetary instrument and funds
from a place in the United States to and through a place outside
the United States and to a place in the United States from and
through a place outside the United States.

(Title 18, United States Code, Sections 1956(a) (2) (A} and 2.)

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COUNT FOURTEEN
(Conspiracy to Defraud the United States;

to Steal Public Funds; and
to Steal From Employee Benefit Plans)

The Grand Jury further charges:

145. The allegations set forth in paragraphs 1 through 106,
paragraphs 109 through 113, and paragraphs 117, 134, and 140,
are repeated and realleged, and incorporated by reference as if
fully set forth herein.

146. From at least in or about 2016 up to and including in or
about December 2017, in the Southern District of New York and
elsewhere, ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANI, and
SIVENDRAN VETTIVETPILLAL, the defendants, and others known and
unknown, willfully and knowingly combined, conspired,
confederated, and agreed together and with each other (a) to
defraud the United States and an agency thereof, to wit, the U.S.
Agency described at Paragraph 43 of this Indictment, in violation
of Title 18, United States Code, Section 371, (b) to commit an
offense against the United States, to wit, theft of public funds,
in violation of Title 18, United States Code, Section 641, and (c)
to commit an offense against the United States, to wit, theft from
an employee benefit plan, in violation of Title 18, United States
Code, Section 664.

147. It was a part and an object of the conspiracy that ARIF

NAOVI, WAQAR sIDDIQUE, RAFIQUE LAKHANI, and SIVENDRAN

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VETTIVETPILLAL, the defendants, and others known and unknown,
willfully and knowingly, using deceit, craft, trickery, and
dishonest means, would and did defraud the United States and an
agency thereof, to wit, the U.S. Agency, by providing false and
misleading information to the U.S. Agency in connection with the
U.S. Agency’s due diligence concerning whether or not the U.S.
Agency would provide debt financing for the Healthcare Fund,
thereby impeding, impairing, defeating, and obstructing the lawful
function of the U.S. Agency, in violation of Title 18, United
States Code, Section 371.

148. It was further a part and an object of the conspiracy
that ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANI, and SIVENDRAN
VETTIVETPILLAL, the defendants, and others known and unknown, would
and did embezzle, steal, purloin, and knowingly convert to their
use and the use of another, and without authority, sell, convey,
and dispose of a record, voucher, money, and thing of value
exceeding $1,000 of the United States and of any department and
agency thereof, in violation of Title 18, United States Code,
Section 641.

149, It was further a part and an object of the conspiracy
that ARIF WNAQVI, WAQAR SIDDIQUE, and RAFIQUL LAKHANT, the
defendants, would and did embezzle, steal, and unlawfully and
willfully abstract and convert to their own use and to the use of

another, moneys, funds, securities, premiums, credits, property,

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and other assets of an employee welfare benefit plan and employee
pension benefit plan, and of any fund connected therewith, in
violation of Title 18, United States Code, Section 664,
OVERT ACTS
150. In furtherance of the conspiracy and to effect the
illegal objects thereof, the following overt acts, among others,
were committed in the Southern District of New York and elsewhere:

a. In or about August 2017, ARIF NAQOVI and
SIVENDRAN VETTIVETPILLAL, the defendants, caused Abraaj] to issue
a disbursement request to the U.S. Agency in the amount of
approximately $68 million. In response to that request, in or about
September 2017, the U.S. Agency wired approximately $68 million to
Abraaj from a bank account in Manhattan, New York.

b. On or about August 1, 2017, WAQAR SIDDIQUE,
the defendant, sent an email to NAQVI providing an update on the
progress of the scheme to overvalue the securities held by Abraa]
funds and thereby misrepresent Abraaj’s track record.

Cc, In or about June 2017, RAFIQUR LAKHANI, the
defendant, exchanged WhatsApp messages with NAQVI about a
fraudulent transfer of money that was intended to deceive investors
in the Healthcare Fund, including the U.S. Agency, about the status
of their investments.

d. In or about 2017, VETTIVETPILLAI conveyed

false information to Healthcare Fund investors, including the U.S.

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Agency, about the status of their investments.

(Title 18, United States Code, Section 371.)

COUNT FIFTEEN
{Theft of Public Funds)

The Grand Jury further charges:

151. The allegations set forth in paragraphs 1 through 106,
paragraphs 109 through 113, and paragraphs 117, 134, 140, and 150,
are repeated and realleged, and incorporated by reference as if
fuliy set forth herein.

152. From at least in or about 2016 up to and including in or
about December 2017, in the Southern District of New York and
elsewhere, ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE LAKHANT, and
STVENDRAN VETTIVETPILLAL, the defendants, willfully and knowingly
embezzled, stole, purloined, and knowingly converted to their use
and the use of another, and without authority, sold, conveyed, and
disposed of a record, voucher, money, and thing of value exceeding
$1,000 of the United States and of any department and agency
thereof, to wit, NAQVI, SIDDIQUE, LAKHANI, and VETTIVETPILLAI
obtained millions of dollars in debt financing for the Healthcare
Fund from the U.S. Agency through false and misleading statements,
embezzled a portion of those funds from the Healthcare Fund, and
used a portion of those funds for unapproved purposes.

(Title 18, United States Code, Sections 641 and 2.)

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COUNT SIXTEEN
(Theft of Employee Pension Plans)

The Grand Jury further charges:

153. The allegations set forth in paragraphs 1 through 106,
paragraphs 109 through 113, and paragraphs 117, 134, 140, and 150,
are repeated and realleged, and incorporated by reference as if
fully set forth herein.

154. From at least in or about 2015 up to and including in or
about December 2017, in the Southern District of New York and
elsewhere, ARIF NAQVI, WAQAR SIDDIQUE, and RAFIQUE LAKHANI, the
defendants, embezzled, stole, and unlawfully and willfully
abstracted and converted to their own use and the use of another,
moneys, funds, securities, premiums, credits, property, and other
assets of an employee welfare benefit plan and employee pension
benefit plan, and of any fund connected therewith, to wit, NAQVI,
SIDDIQUE, and LAKHANI having obtained investments from employce
welfare and pension benefit plans funds, including a pension fund
for professional musicians located in Manhattan, New York,
embezzled a portion of those investor monies out of the fund into
which they had been deposited and used the money for unapproved
purposes. |

(Title 18, United States Code, Sections 644 and 2.)

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FORFEITURE ALLEGATIONS AND SUBSTITUTE ASSET PROVISIONS

FORFELTURE ALLEGATION AS TO COUNT ONE

 

155. As a result of committing the offense alleged in Count
One of this indictment, ARIF NAQVI, WAQAR SIDDIQUE, RAFIQUE
LAKHANI, MUSTAPA ABDEL-WADOOD, ASHISH DAVE, and SIVENDRAN
VETTIVETPILLAL, the defendants, shail forfeit to the United
States, pursuant to Title 18, United States Code, Section 1963,

a. any interest acquired or maintained as a
result of the racketeering activity charged in Count One;

b. any interest in, security of, claim against,
or property or contractual right of any kind affording a source of
influence over, any enterprise established, operated, controlled,
conducted, or participated in the conduct of as a result of the
racketeering activity charged in Count One; and

c. any property constituting, or derived from,
any proceeds obtained, directly or indirectly, from the
racketeering activity charged in Count One.

FORFELTURE ALLEGATIONS AS TO COUNTS TWO, THREE, FOUR, FIVE, SIX,
SEVEN, EIGHT, NINE, FOURTEEN, FIFTERN, AND SIXTEEN

 

 

156. As a result of committing one or more of the offenses
alleged in Counts Two, Three, Four, Five, Six, Seven, Eight, Nine,
Fourteen, Fifteen, and Sixteen of this indictment, ARIF NAOQVI,
WAQAR SIDDIQUE, RAFIQUE LAKHANI, MUSTAFA ABDEL-WADOOD, ASHISH
DAVE, and SIVENDRAN VETTIVETPILLAI, the defendants, shall forfeit

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to the United States pursuant to Title 18, United States Code,
Section 981{(a)(1)(C) and Title 28, United States Code, Section
2461(c), all property, real and personal, that constitutes or is
derived from proceeds traceable to the commission of said offenses,
including but not limited to a sum of money in United States
currency representing the amount of proceeds traceable to the
commission of said offenses.

FORFEITURE ALLEGATIONS AS TO COUNTS TEN THROUGH THIRTEEN

157. As a result of committing one or more of the offenses
alleged in Counts Ten through Thirteen of this Indictment, ARIF
NAOQVI, WAQAR SIDDIQUE, RAFIQUE LAKRANI, MUSTAFA ABDEL-WADOOD,
ASHISH DAVE, and SIVENDRAN VETTIVETPILLAL, the defendants, shall
forfeit to the United States, pursuant to Title 18, United
States Code, Section 982(a)(1), any and all property, real and
personal, involved in said offenses, or any property traceable
to such property, including but not limited to a sum of money in
United States currency representing the amount of property

involved in said offenses.

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Substitute Assets Provision

 

 

158. Tf any of the above-described forfeitable
property, as a result of any act or omission of the defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or solid to, or deposited with, a
third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot
be divided without difficulty,
it is the intent of the United States, pursuant to Title 21, United
States Code, Section 853(p) and Title 28, United States Code,
Section 2461(c) to seek forfeiture of any other property of the
defendants up to the value of the forfeitable property described

above.

(Title 18, United States Code, Sections 492, 981, 982, and 1963;
Title 21, United States Code, Section 853; and Title 28, United
States Code, Section 2461.)

 
  

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United States Attorney

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
— vT. —
ARIF NAQVI, et al.,

Defendants.

 

SUPERSEDING INDICTMENT

 

S6 19 Cr. 233 (LAK)

(15 U.S.C. §§ 78) (b) & 78ff, and 17
C.F.R. 240.10b-5; 18 U.S.C. $§ 371, 641,
664, 1343, 1349, 1956, 1962, and 2.)

GEOFFREY S. BERMAN
United States Attorney.

 

A TRUE BILL

 
 

/- Foréperson.

 
